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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


 ANDREW CORZO, SIA HENRY, ALEXANDER
 LEO-GUERRA, MICHAEL MAERLENDER,
 BRANDON PIYEVSKY, BENJAMIN SHUMATE,
 BRITTANY TATIANA WEAVER, and
 CAMERON WILLIAMS, individually and on
 behalf of all others similarly situated,

                               Plaintiffs,

                          v.

 BROWN UNIVERSITY, CALIFORNIA                           Case No.: 1:22-cv-00125
 INSTITUTE OF TECHNOLOGY, UNIVERSITY
                                                        Hon. Matthew F. Kennelly
 OF CHICAGO, THE TRUSTEES OF COLUMBIA
 UNIVERSITY IN THE CITY OF NEW YORK,
 CORNELL UNIVERSITY, TRUSTEES OF
 DARTMOUTH COLLEGE, DUKE UNIVERSITY,
 EMORY UNIVERSITY, GEORGETOWN
 UNIVERSITY, THE JOHNS HOPKINS
 UNIVERSITY, MASSACHUSETTS INSTITUTE
 OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME
 DU LAC, THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA, WILLIAM
 MARSH RICE UNIVERSITY, VANDERBILT
 UNIVERSITY, and YALE UNIVERSITY,

                               Defendants.


     PLAINTIFFS’ MOTION TO LIMIT REDACTION OF DONOR NAMES AS TO
                      NORTHWESTERN AND YALE
       Plaintiffs respectfully move the Court to enter an Order directing Defendants

Northwestern University and Yale University to remove redactions of the names of donors from

all Donation Records on the grounds set forth in the supporting memorandum submitted on this

same date and in the exhibits submitted herewith.



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Dated: May 8, 2023                                       Respectfully Submitted,


By:/s/Robert D. Gilbert                                  /s/ Edward J. Normand
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Elpidio Villarreal                                       Edward J. Normand
Robert S. Raymar                                         Peter Bach-y-Rita
Steven Magnusson                                         FREEDMAN NORMAND
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